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                           UNITED STATES DISTRICT COURT
                                       DISTRICT OF CONNECTICUT


JANEL GRANT,

                                 V.                             SUMMONS IN A CIVIL CASE
WORLD WRESTLING ENTERTAINMENT, INC,
ET AL.,
                                                        CASE NUMBER: 3:24−CV−00090−JAM




   TO: Vincent K. McMahon
Defendant's Address:




    A lawsuit has been filed against you.

    Within 21 days after service of this summons on you (not counting the day you received it) − or 60 days if
you are the United States or a United States agency, or an officer or employee of the United States described in
Fed. R. Civ. P. 12 (a)(2) or (3) − you must serve on the plaintiff an answer to the attached complaint or a
motion under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the
plaintiff or plaintiff's attorney, whose name and address are:

Benjamin M. Daniels
Robinson & Cole LLP
280 Trumbull Street
Hartford, CT 06103

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.




CLERK OF COURT



  /s/ − A. Chartier
                 Signature of Clerk or Deputy Clerk




                                                                     ISSUED ON 2024−01−26 14:07:57, Clerk USDC
                                                                                      CTD
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                                           PROOF OF SERVICE
           (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))


        This summons for (name of individual and title, if any)_________________________________________
     was received by me on (date) _________________________________.


        I personally served the summons on the individual at (place) ___________________________
        _______________________________________ on (date) ______________________; or


        I left the summons at the individual's residence or usual place of abode with (name) __________
        ____________________________ , a person of suitable age and discretion who resides there,
        on (date) __________________ , and mailed a copy to the individual's last known address; or


        I served the summons on (name of individual) ________________________________ , who is
        designated by law to accept service of process on behalf of (name of organization)______________
        ______________________________________ on (date) __________________ ; or


        I returned the summons unexecuted because ______________________________________
        ______________________________________________________________________ ; or


        Other (specify) ____________________________________________________________
        ________________________________________________________________________
        ________________________________________________________________________


     My fees are $_______ for travel and $ ___________for services, for a total of $_________0.00


     I declare under penalty of perjury that this information is true.


Date: ____________________
                                                                         ________________________________
                                                                                  Servers signature

                                                                         ________________________________
                                                                                Printed name and title


                                                                         ________________________________
                                                                                   Servers address


        Additional information regarding attempted service, etc:
